           Case 2:10-cr-00354-EJG Document 25 Filed 03/24/11 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MICHAEL PETRIK, JR., Bar #177913
     Designated Counsel for Service
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
6    Attorney for Defendant
     CLEMENTE CRUZ
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:10-cr-354 EJG
                                     )
12                  Plaintiff,       )     STIPULATION AND ORDER
                                     )
13        v.                         )
                                     )
14   CLEMENTE RUEDA CRUZ, and        )     Date: March 25, 2011
     ARMANDO GARCIA ALEMAN           )     Time: 10:00 a.m.
15                                   )     Judge: Hon. Edward J. Garcia
                    Defendants.      )
16   _______________________________ )
17        IT IS HEREBY STIPULATED by and between Assistant United States
18   Attorney WILLIAM WONG, Counsel for Plaintiff, Attorney Michael Petrik,
19   Jr., Counsel for Defendant CLEMENTE RUEDA CRUZ, and Attorney Dina L.
20   Santos, Counsel for Defendant ARMANDO GARCIA ALEMAN, that the status
21   conference scheduled for March 25, 2011, be vacated and the matter be
22   continued to this Court's criminal calendar on April 22, 2011 at 10:00
23   a.m., for further status.
24        Defense counsel requests this continuance seeking additional time
25   to conduct further legal research and continue ongoing defense
26   investigation.
27        It is further stipulated by the parties that the Court should
28   exclude the period from the date of this order through April 22, 2011,
           Case 2:10-cr-00354-EJG Document 25 Filed 03/24/11 Page 2 of 2


1    when it computes the time within which the trial of the above criminal
2    prosecution must commence for purposes of the Speedy Trial Act.       The
3    parties stipulate that the ends of justice served by granting
4    defendants’ request for a continuance outweigh the best interest of the
5    public and defendants in a speedy trial, and that this is an
6    appropriate exclusion of time for defense preparation within the
7    meaning of 18 U.S.C. § 3161(h)(7)(A) and (B) (Local Code T4).
8         IT IS SO STIPULATED.
9    Dated: March 23, 2011                  Respectfully submitted,
10                                          DANIEL BRODERICK
                                            Federal Defender
11
                                            /s/ M. Petrik
12
                                            MICHAEL PETRIK, Jr.
13                                          Assistant Federal Defender
                                            Attorneys for Defendant
14
15   Dated: March 23, 2011                   /s/ Dina L. Santos
                                            DINA L. SANTOS
16                                          Attorney for Defendant
                                            ARMANDO GARCIA ALEMAN
17
18                                          BENJAMIN B. WAGNER
                                            United States Attorney
19
     Dated: March 23, 2011                   /s/ William Wong
20                                          WILLIAM WONG
                                            Assistant United States Attorney
21                                          Attorney for Plaintiff
22
23                                     O R D E R
24        IT IS SO ORDERED.
25
26   Dated: March 23 2011              /s/ Edward J. Garcia
                                      Hon. Edward J. Garcia
27                                    United States District Judge
28


     Stipulation/Order                     -2-
